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13                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     MARK MCDONALD AND JEFF BARKE,
15

16                    Plaintiffs,                     Case No. 8:22-cv-01805-FWS-ADS

17   v.

18   KRISTINA D. LAWSON, in her official capacity     PLAINTIFFS’ REPLY IN SUPPORT OF
19   as President of the Medical Board of             MOTION FOR PRELIMINARY
     California; RANDY W. HAWKINS, in his             INJUNCTION
20   official capacity as Vice President of the
     Medical Board of California; LAURIE ROSE
21   LUBIANO, in her official capacity as Secretary   DATE: November 17, 2022
     of the Medical Board of California;              TIME: 10:00 A.M.
22
     MICHELLE ANNE BHOLAT, DAVID E. RYU,              JUDGE: Fred W. Slaughter
23   RYAN BROOKS, JAMES M. HEALZER, ASIF              CTRM: 10D
     MAHMOOD, NICOLE A. JEONG, RICHARD E.
24   THORP, VELING TSAI, and ESERICK WATKINS,
25   in their official capacities as members of the
     Medical Board of California; and ROBERT
26   BONTA, in his official capacity at Attorney
     General of California,
27

28                   Defendants.

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19      (Oct. 17, 2022), https://www.gov.ca.gov/2022/10/17/governor-newsom-to-
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 1                                         INTRODUCTION
 2      Defendant California Medical Board Members and the California Attorney General
 3   (collectively, “the Board” or “the State”) argue that AB 2098 (“the Act”) is not a speech
 4   restriction but a standard professional regulation of conduct. Yet the word “conduct” only
 5   appears in the act as the term being defined to mean “speech”: the Act makes it
 6   “unprofessional conduct” to “disseminate,” which is defined as “the conveyance of
 7   information.” Not the administering of a drug, not even the writing of a prescription,
 8   simply communicating a single piece of information that the Board believes to be incorrect
 9   is, as described in the Board’s own Opposition (Dkt. 50) (“Resp.”), now the legal equivalent
10   of gross negligence if it at all relates to COVID.
11      Plaintiffs Dr. Mark McDonald and Dr. Jeff Barke submit this Reply in support of their
12   Motion for Preliminary Injunction. See Dkt. 35 (“PI Memo.”). This Court should enjoin the
13   Act while this case proceeds, because the chilling effect on Plaintiffs’ right to speak is real
14   and substantial, constitutes irreparable injury, and the protection of such First
15   Amendment rights is always in the public interest.
16
                                         LEGAL STANDARD
17

18      Plaintiffs disagree with the Defendants’ description of the legal burden for a
19   preliminary injunction. The Defendants assert that to secure such relief, the “Plaintiffs, as
20   the movants here, bear the burden of proving each of these elements by a clear showing.”
21   Resp. 6. This mischaracterizes the proper test. For a First Amendment claim such as this,
22   the Plaintiffs must only raise a colorable First Amendment claim, in which case the burden
23   then rests on the government to defend its law. “When seeking a preliminary injunction ‘in
24   the First Amendment context, the moving party bears the initial burden of making a
25   colorable claim that its First Amendment rights have been infringed, or are threatened
26   with infringement, at which point the burden shifts to the government to justify the
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 1   restriction.” Sanders Cnty. Republican Cent. Comm. v. Bullock, 698 F.3d 741, 744 (9th Cir.
 2   2012) (quoting Thalheimer v. City of San Diego, 645 F.3d 1109, 1116 (9th Cir. 2011)).
 3        Plaintiffs also dispute the Defendants’ notion they must make a “clear showing” of their
 4   likelihood of success on the merits. In the Ninth Circuit, if a plaintiff shows “serious
 5   questions going to the merits,” then a preliminary injunction may still issue if the “balance
 6   of hardships tips sharply in the plaintiff’s favor.” Friends of the Wild Swan v. Weber, 767
 7   F.3d 936, 942 (9th Cir. 2014).
 8
                                             ARGUMENT
 9
     I.      Plaintiffs have standing to challenge AB 2098.
10
          The Board’s first argument is that Plaintiffs’ lack standing because they “have not
11
     alleged a ‘concrete plan’ to violate the standard of care or to intentionally mislead
12
     patients.” Resp. 7. But that is not the test for standing. Plaintiffs have stated their past,
13
     present, and ongoing medical advice to the public and their patients concerns COVID-19,
14
     the topic covered by this law. They do not concede that their medical advice violates the
15
     standard of care or misleads anyone, nor must they. Rather, they contend, quite
16
     reasonably, that they are chilled from continuing to provide this advice to their patients
17
     because there is a credible threat of enforcement against them because the Defendants
18
     would classify their advice as a violation of the standard of care.
19
          Thus, of course “plaintiffs themselves agree they have the duty to provide ‘medically
20
     sound advice.” Resp. 7. But that does not mean “[s]uch care would not violate AB 2098.”
21
     Resp. 7-8. First, Plaintiffs wouldn’t describe “medically sound advice” as “care” in this
22
     context. But more importantly, because Plaintiffs take different views than the Board of
23
     what the established medical evidence advises regarding COVID, their view of “medically
24
     sound advice” is different from the Defendant’s view. From Defendants’ perspective, their
25
     advice would be outside the standard of care. Because Defendants intend to enforce that
26
     view, Plaintiffs have standing to bring a pre-enforcement challenge.
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 1      At best, the Board’s standing argument is that the Plaintiffs must plead some specific
 2   intent to advise patients of their views, as opposed to simply the general public. Resp. 8.
 3   But Plaintiffs’ submissions includes facts sufficient to meet that test. For instance, the
 4   Plaintiffs have “advocated publicly and privately about [their] objections to federal and
 5   state COVID-19 policies.” Compl. ¶¶ 43 (McDonald), 63 (Barke) (emphasis added). They
 6   each “feel[] it is their professional duty to continue to provide [their] patients with
 7   medically sound advice . . . , but if subject to AB 2098 [they] will be forced to choose
 8   between providing [their] best medical judgment and censoring that judgment to comply
 9   with the law. Id. ¶¶ 51 (McDonald), 65 (Barke) (emphasis added). Their sworn declarations
10   include substantially similar statements. See McDonald Decl., Dkt. 35-1 at ¶ 26, Barke
11   Decl., Dkt. 35-2 at ¶ 19. One cannot “continue” to offer advice to patients one has not ever
12   offered in the first place. And the State adduces no evidence to show Drs. McDonald and
13   Barke do not or would not have a reason to provide information on COVID-19 to their
14   patients, or to doubt the veracity of their submissions to this Court.
15      The Board next argues that Plaintiffs “have not shown the conduct they wish to engage
16   in was previously permissible but no longer would be under AB 2098.” Resp. 8. Essentially,
17   since violations of a standard of care could already be the basis for disciplinary action
18   against a doctor, AB 2098 should make no difference to them. Even if AB 2098 simply
19   codified the Board’s preexisting interpretation, that does not mean the Plaintiffs do not
20   have standing. Indeed, it reinforces the credibility of the threat of enforcement that the
21   Board has been directed by the Legislature to make this a priority given the Legislature’s
22   decision to codify the Board’s prior practice, and lower the standard the Board must prove
23   to take disciplinary action. AB 2098 “ma[d]e explicit the Board’s authority to take action
24   against a single act of substandard care with respect to COVID-19.” Resp. 25. So the threat
25   of enforcement is now even more real, because a single act of COVID advice can cost a
26   plaintiff his license, whereas before several such acts were necessary. See Resp. 3. Also, to
27   state the obvious, Plaintiffs filed a lawsuit because they believe this law will apply to them,
28
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 1   i.e., that they will have to change the advice they give patients in order to avoid losing
 2   their licenses.
 3      AB 2098 treats any disagreement regarding the Board’s view science of COVID,
 4   including even a single, isolated statement, as the equivalent of gross negligence. Such a
 5   single statement is now, by law, “an extreme departure from the standard of care.” Resp. 3
 6   (quoting Gore v. Board of Med. Quality Assurance, 110 Cal. App. 3d 184, 196 (1980)). How
 7   are plaintiffs to navigate such a regime? Many things that are now the mainstream
 8   scientific consensus were rejected by authorities at one stage or another of the pandemic
 9   including the utility of mask wearing, see PI Memo. at 3, and the merits of closing schools,
10   Id. at 4. The official position of the public health authorities was that the vaccine developed
11   by Johnson & Johnson was safe and effective; now the official CDC guidance warns of
12   potentially serious risks not presented by the other available vaccines. See id. at 5. A
13   doctor who advised his patients in early 2021 that the Johnson & Johnson vaccine
14   appeared more dangerous than other alternatives would have violated the Act, and been
15   subject to sanction. Under this law, every doctor in California takes a serious risk if he
16   does anything except quote official guidance verbatim.
17      The Board’s last point is that any chilling effect here is “subjective” and therefore not
18   actual or imminent injury. Resp. 9. But there is nothing subjective here: Plaintiffs must
19   now be concerned that any statement they make to a patient could be used against them as
20   evidence of gross negligence. In the case of Dr. McDonald in particular, there is no basis for
21   speculation: he is currently responding to a Board investigation of a complaint against him
22   for publicly advocating “controversial” ideas on Twitter. See Compl. at ¶¶ 45-50. Though
23   filed anonymously, the complainant did claim to be a patient of Dr. McDonald, id. at ¶ 45,
24   which further indicates he gives this advice to his patients. And it shows the Board’s
25   commitment to enforcing its standards against “misinformation”—the new law is no hollow
26   threat creating a “subjective chill”—Plaintiffs have a very real and credible fear of
27   enforcement given the Board’s ongoing investigation of Dr. McDonald for similar speech.
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 1         Plaintiffs also have an understandable hesitation about describing the particulars of
 2   their past interactions with patients. The Board’s position in this case is that AB 2098
 3   simply codified the Board’s own pre-existing interpretation of the standard of care, and
 4   clarified that even a single act constituted gross negligence. See Resp. 25. If Plaintiffs
 5   provide detailed sworn statements as to their past advice given to patients, they would be
 6   providing a roadmap to prosecuting them under the what the Board described as the
 7   previous standard, with no ex post facto protection. Plaintiffs’ would prefer to decline this
 8   invitation to be hoisted on their own affidavits. What they have already said is certainly
 9   enough to establish their standing.
10         Finally, the Defendants entirely ignore the Plaintiffs’ void-for-vagueness claim in their
11   standing analysis. The entire point of Plaintiffs’ second claim is that it is impossible for a
12   doctor to know exactly what the Board will define as the “scientific consensus.” In other
13   words, it is hard to allege with sufficient specifics to suit the State what medical advice
14   Plaintiffs will offer their patients when they have no way of knowing what the Board will
15   decide is within or outside the “scientific consensus.” “In the First Amendment context, a
16   fear of prosecution will only inure if the plaintiff’s intended speech arguably falls within
17   the statute’s reach.” Lopez v. Candaele, 630 F.3d 775, 788 (9th Cir. 2010) (cleaned up).
18   Here, because Plaintiffs’ intention to continue their past speech to their patients regarding
19   COVID-19 “arguably falls within the statute’s reach,” especially given their vagueness
20   claim, and because the Board has shown its enthusiasm for vigorous enforcement of its
21   “misinformation” standards with its action against Dr. McDonald, Plaintiffs clearly have
22   standing.
23   II.      The Plaintiffs are likely to succeed on the merits of their claims that AB 2098
              abridges their right to speak and is void for vagueness.
24
           The Board’s arguments on the merits begin with the flawed premise that speech by
25
     professionals is subject to some special rational basis standard. See Resp. 9-14. But the
26
     Supreme Court expressly rejected the Ninth Circuit’s professional speech doctrine. Nat’l
27
     Institute of Family & Life Advocates v. Becerra, 138 S. Ct. 2361 (2018) (NIFLA). And there
28
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 1   are multiple reasons to think more than rational basis applies here. Far from mere rational
 2   basis, “professional speech may be entitled to the strongest protection our Constitution has
 3   to offer.” Conant v. Walters, 309 F.3d 629, 637 (9th Cir. 2002). Plus, this law is content-
 4   based (it only applies to speech about one particular topic, COVID-19) and viewpoint-based
 5   (it only bars speech about that topic that contradicts the government’s definition of the
 6   current scientific consensus, even as there are multiple other viewpoints that dissent from
 7   the government’s definition of what the science shows and whether it’s a consensus). In
 8   both senses, it is presumptively unconstitutional and subject to strict scrutiny. Victory
 9   Processing, LLC v. Fox, 937 F.3d 1218, 1226 (9th Cir. 2019).
10      Defendants attempt to work their way around NIFLA by dubbing certain speech they
11   wish to suppress “conduct,” Resp. 9, but calling speech itself conduct “is a dubious
12   constitutional enterprise” that “is unprincipled and susceptible to manipulation.” See
13   Wollschlaeger v. Governor of Florida, 848 F.3d 1293, 1308-09 (11th Cir. 2017) (en banc)
14   (cleaned up).
15      Of course, Tingley v. Ferguson, 47 F.4th 1055 (9th Cir. 2022), held that NIFLA had left
16   open a narrow remainder of the Ninth Circuit’s professional doctrine as articulated in
17   Pickup v. Brown, 740 F.3d 1208, 1221 (9th Cir. 2014). But the conversion therapy bans in
18   Pickup and Tingley addressed a particular treatment strategy—techniques to change a
19   minor’s sexual orientation—whereas AB 2098 outlaws providing patients “information”
20   that the Board believes they should not be provided. This makes Tingley obviously
21   distinguishable. The Board is wrong to say, “AB 2098 similarly regulates the kind of care
22   that a physician can provide.” Resp. 11. AB 2098 does not regulate care at all—it does not
23   prevent a doctor from prescribing ivermectin or hydroxychloroquine for COVID. It
24   regulates doctors’ speech about ivermectin or hydroxychloroquine (we assume; it’s so vague
25   that we can’t say for certain whether those two drugs are in or out of the standard of care).
26   This is why Tingley is so obviously distinguishable—in Tingley, the care was delivered via
27   speech (i.e., verbal counseling therapy). This is why the Defendants are right when they
28   say, “The fact that such care ‘is performed through speech alone’ made no difference” in
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 1   Tingley—in that case, care delivered as speech is still care, even if it is also speech. Resp.
 2   11. Here, however, there is no speech component to the actual treatment of COVID-19.
 3   This is why all the Defendants’ other examples of “treatment through speech” fail—in the
 4   examples, words are a necessary part of the treatment. See Resp. 12. Unlike with
 5   conversion therapy or nutrition advice, words have no effect on a patient’s COVID; one
 6   cannot verbally counsel away a virus.
 7      That distinction makes this case much closer to Conant v. Walters, 309 F.3d 629 (9th
 8   Cir. 2002), in which the government failed in its defense of a rule that a doctor merely
 9   recommending marijuana to a patient was a basis to revoke a medical license. In Conant
10   the Ninth Circuit “distinguished prohibiting doctors from treating patients with
11   marijuana—which the government could do—from prohibiting doctors from simply
12   recommending marijuana.” Tingley, 47 F.4th at 1072. AB 2098 does not outlaw treating
13   patients with, say, ivermectin; it outlaws recommending to patients that some studies have
14   found that drug effective to treat COVID, in the same manner a doctor in Conant might
15   recommend to a patient that some studies have found marijuana effective at treating
16   glaucoma. The Defendants’ own brief says, “AB 2098 thus circumscribes the care a
17   physician recommends or provides to their patients for a specific health issue.” Resp. 11.
18   Accord id. at 13. If AB 2098 restricts what a doctor can verbally recommend to a patient, it
19   clearly violates the holding of Conant.
20      According to the Board, Conant only protected medical information that complies with
21   the standard of care. Resp. 13. But that is hardly so—one will search in vain in Conant for
22   any mention of the standard of care. That’s also hard to credit when the federal
23   government says marijuana has “no currently accepted medical use in treatment in the
24   United States” and “[t]here is a lack of accepted safety for use of the drug or other
25   substance under medical supervision.” 21 U.S.C. § 812(b)(1) (definition of a Schedule I
26   drug). The people of California obviously disagree with Congress on that point and believe
27   there are legitimate medical uses for marijuana, which disagreement they enacted into
28   state law. Fair enough—this debate just illustrates Plaintiffs’ point that doctors’ speech to
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 1   patients cannot be limited to a government’s definition of what it believes to be the
 2   standard of care. Often the “standard of care” for a particular disease includes room for
 3   different or alternative views or multiple appropriate approaches. Reger v. A.I. Dupont
 4   Hosp. for Children of the Nemours Found., 259 Fed. Appx. 499, 502 (3d Cir. 2008). See
 5   Conant, 309 F.3d at 640 (Kozinski, J., concurring) (“a legitimate and growing division of
 6   informed opinion on this issue.”). And sometimes a doctor may question an official
 7   definition of a medical standard, as California questions Congress’s medical judgment
 8   about medical marijuana. The government may establish that a single medical treatment
 9   is the official appropriate standard of care, and it may punish doctors who deviate from
10   that standard. But it may not punish doctors for discussing with their patients the doctors’
11   view that the official treatment is in fact not the best or only treatment.
12      Plus, one should not lose sight of Conant’s concern for a robust public policy debate.
13   Marijuana regulation is obviously a subject of intense debate in public policy circles. The
14   district court in Conant, which was affirmed by the Ninth Circuit, wanted to protect the
15   patient’s right to receive the recommendation and take non-medical action: “the patient
16   upon receiving the recommendation could petition the government to change the law. By
17   chilling doctors’ ability to recommend marijuana to a patient, the district court held that
18   the prohibition compromises a patient’s meaningful participation in public discourse.”
19   Conant, 309 F.3d at 634-35. In the same way, on a topic as charged as the government’s
20   response to COVID-19, the government’s decision to censor minority views limits public
21   debate. This law is viewpoint discrimination: it establishes one official viewpoint on a
22   contested topic (whatever the Board defines as the contemporary scientific consensus) and
23   uses the power of the state to punish all who dare share a different viewpoint out loud to
24   their patients. That violates the First Amendment’s fundamental command: “The whole
25   theory of viewpoint neutrality is that minority views are treated with the same respect as
26   are majority views.” Bd. of Regents v. Southworth, 529 U.S. 217, 235 (2000).
27      The Board asserts that even if its law does burden Plaintiffs’ First Amendment rights,
28   it is nevertheless justified by the Government’s interests. But the Board’s description of its
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 1   interests would permit it to enact any regulation of physician speech it desired—clearly
 2   Conant and Wollschlaeger were wrongly decided if we applied the Board’s definition of its
 3   own interests.
 4       The Board’s description of its interests in fighting the COVID pandemic also fails to
 5   account for the stage we are in. The President of the United States has declared the
 6   pandemic is over 1, and the Governor of California has announced his intention to end the
 7   emergency declaration. 2 Though the government may have had a compelling interest in
 8   COVID-19 regulation in the past, that interest is certainly different today, and the Board
 9   cannot rely on precedents from a previous phase to justify its current laws.
10       Besides, the Act is in no way tailored narrowly to those interests. Take protection of the
11   public from negligent or incompetent physicians. Resp. 16. AB 2098 does not impose a
12   standard of negligence or incompetence—instead, it relies on a standard of contemporary
13   scientific consensus, with which disagreement could be widespread and reasonable. If the
14   California legislature had wanted to limit AB 2098 to a negligence standard, it could
15   have—but instead, it made the “dissemination” of “information” a strict liability offense.
16       The importance of ensuring patients have access to accurate, complete, and truthful
17   information does not require policing the speech of individual doctors. If the state wants to
18   ensure the general public has access to what it believes is accurate information, it can set
19   up a website; it can even run an ad campaign. But it cannot commandeer the speech of
20   others to repeat its message. Those are essentially the facts of NIFLA, in which the state
21   required pregnancy centers to post the State’s message regarding abortion on their
22   premises. See 138 S. Ct. at 2369. California’s argument in NIFLA was that their state
23   interest in making sure patients had accurate information about abortion allowed them to
24   control the speech of medical professionals. Id. at 2375 (“California asserts a single interest
25

26   1
         “Covid-19 pandemic is over in the US - Joe Biden,” BBC.com (Sept. 20, 2022),
27   https://www.bbc.com/news/world-us-canada-62959089.
     2
       “Governor Newsom to End the COVID-19 State of Emergency,” Press Release (Oct. 17, 2022),
28
     https://www.gov.ca.gov/2022/10/17/governor-newsom-to-end-the-covid-19-state-of-emergency/.
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 1   to justify the licensed notice: providing low-income women with information about state-
 2   sponsored services.”). Like in NIFLA, too, here the State is seeking to use its power to
 3   shape the marketplace of ideas, to suppress one viewpoint in favor of its preferred
 4   viewpoint. See NIFLA, 138 S.Ct. at 2379-80 (Kennedy, J., concurring) (“This law is a
 5   paradigmatic example of the serious threat presented when government seeks to impose its
 6   own message in the place of individual speech, thought, and expression.”). That “is a
 7   matter of serious constitutional concern.” Id. And we should not lose sight of the fact that
 8   California’s supposed desire to provide information arose in the context of medical
 9   treatment; the state could not force non-abortion clinics to post government information
10   about alternative medical options. If California could not constitutionally force pro-life
11   pregnancy centers to provide the government’s preferred medical information, how can
12   California force doctors to only provide the government’s preferred medical information?
13      Regarding vagueness, the Board objects that the scientific consensus can be objective
14   that “apples contain sugar, that measles is caused by a virus, that Down syndrome is
15   caused by a chromosomal abnormality, etc.” But Down syndrome was first identified in
16   1862, and apples and measles have been known to humanity since antiquity. COVID is
17   currently less than 3 years old; Plaintiffs submit a greater range of uncertainty is
18   warranted when experience is short. The appropriate medical response to COVID is a topic
19   on which “there is a genuine difference of expert opinion on the subject, with significant
20   scientific and anecdotal evidence supporting both points of view.” Conant, 309 F.3d at 643
21   (Kozinski, J., concurring). How is any doctor to know what constitutes “the contemporary
22   scientific consensus” when that consensus is constantly changing and evolving, there are a
23   variety of studies and reports, and a genuine difference of expert opinions?
24      The Board’s response is also cold comfort: we can charge you with violating the law, and
25   if we don’t prove (to ourselves) that your advice violates the scientific consensus, then we
26   won’t take your license away in the end. Resp. 23. Of course, the government could use
27   such an excuse to defeat any pre-enforcement void-for-vagueness challenge: if we don’t
28   prove our case, the jury won’t convict and you can go free. But that is not the legal
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 1   standard: the question is whether a doctor of ordinary intelligence would know what the
 2   Board defines as “the contemporary scientific consensus as to the standard of care.” And in
 3   this instance, when the so-called scientific consensus is dynamic and constantly evolving, a
 4   doctor of ordinary intelligence cannot be expected to know what is “in or out.”
 5   III.      The other preliminary injunction factors favor granting Plaintiffs’ Motion.
 6          The Board claims Plaintiffs can claim no irreparable harm because the loss of their
 7   professions and livelihood could be remedied by money damages. Plaintiffs’ doubt the
 8   Board means to waive sovereign immunity from damages in such an event, but even if the
 9   Board were to pay Plaintiffs’ for their lost income, the reputational harm of being stripped
10   of one’s medical licenses remains acute. And that says nothing of the core question of the
11   right to speak, which is so fundamental that even a temporary abridgment of that right is
12   irreparable. See PI Memo. at 27. Nor does it take account of the patients’ right to receive
13   their doctors’ speech. See Conant, 309 F.3d at 640 (Kozinski, J., concurring) (“Those
14   immediately and directly affected by the federal government’s policy are the patients, who
15   will be denied information crucial to their well-being.”). This also means that the balance of
16   equities and public interest favor plaintiff, as the enforcement of First Amendment rights
17   is always equitable and in the public interest. Id. And because the Plaintiffs have raised at
18   least “serious questions” going to the merits, they believe an injunction should issue
19   because this balance of harms tips sharply in their favor. One can hardly name a more
20   important right to protect than free speech, and the effects of the government’s policy on
21   the marketplace of ideas for medical innovation affects the plaintiffs’ patients, patients
22   across California, and ultimately patients across the nation as doctors decline the risk
23   associated with questioning the State’s preferred view on a scientific question.
24                                            CONCLUSION
25          “The government’s policy in this case seeks to punish physicians on the basis of the
26   content of doctor-patient communications. Only doctor-patient conversations that include
27   discussions of [COVID-19] trigger the policy. Moreover, the policy does not merely prohibit
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 1   the discussion of [COVID-19]; it condemns expression of a particular viewpoint, i.e., that
 2   [contrary to the Board’s view of the contemporary scientific consensus]. Such condemnation
 3   of particular views is especially troubling in the First Amendment context.” Conant, 309
 4   F.3d at 637. So too here. For the reasons stated above, and in Plaintiffs’ earlier
 5   Memorandum, the Motion for Preliminary Injunction should be granted.
 6

 7      Dated: November 3, 2022
 8      Respectfully submitted,
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 1                                 CERTIFICATE OF SERVICE
 2      I hereby certify that on November 3, 2022, I electronically filed the forgoing Amicus
 3
     Brief with the Clerk of the Court for the United States Court of District Court for the
 4
     Central District of California using the CM/ECF system. Defendants in this case have
 5

 6   counsel who have appeared and will be served by ECF. Intervenor Emmanuel McCray is

 7   proceeding pro se, and is being served by email the evening of November 3, 2022 and will
 8   receive physical service by mail at the below address.
 9
        Emanuel McCray
10      2700 Caples Street
        P.O. Box 3134
11      Vancouver, WA 98668
12

13                                                        s/ Daniel R. Suhr
                                                          November 3, 2022
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